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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA

Jordan Schwyhart, on behalf of         )
himself and others similarly situated, )
                                       )       Case No. 2:15-cv-01175-JEO
      Plaintiff,                       )
                                       )
v.                                     )       UNOPPOSED
                                       )
AmSher Collection Services, Inc.,      )
                                       )
      Defendant.                       )


   PLAINTIFF’S UNOPPOSED MOTION FOR FINAL APPROVAL OF
                 CLASS ACTION SETTLEMENT

      Jordan Schwyhart respectfully moves this Court to approve his class action

settlement with AmSher Collection Services, Inc. (“AmSher”), on behalf of himself

and the following class and subclass:

                                  Injunctive Class

      All individuals who, from July 13, 2011 through and including October
      20, 2016, were called by AmSher on their cellular telephones, or any
      other service for which the individual was charged, with equipment
      alleged to be an automatic telephone dialing system, or allegedly with
      an artificial or pre-recorded voice, where it is alleged there was no prior
      express consent to make the call.

                                 Damages Subclass

      The individuals identified in the Damages Class List who, between May
      1, 2015 and July 31, 2015, received a telephone call from AmSher to a
      cellular telephone, or any other service for which the called party was
      charged, made with equipment alleged to be an automatic telephone


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      dialing system, or allegedly with an artificial or pre-recorded voice,
      where it is alleged there was no prior express consent to make the call.

      More than 3,400 Damages Subclass Members submitted valid claims to

participate in the settlement, which requires AmSher to create a non-reversionary

cash settlement fund of $970,000, as well as make important changes to its calling

practices. No Class Members excluded themselves from the settlement, nor did any

Class Members object to any aspect of the settlement.

      Given, therefore, the excellent result achieved here, and considering the

universal support for the settlement, Mr. Schwyhart now asks this Court to finally

approve the settlement as fair, reasonable, and adequate, and enter a final judgment

and order, which, among all else: (1) confirms this Court’s certification of the class

and subclass; (2) finds that the notice of the settlement issued to members of the

class satisfies Rule 23 and due process, and that the notice issued to state and federal

officials satisfied 28 U.S.C. § 1715; (4) approves an award of attorneys’ fees of one-

third of the settlement fund, or $323,333.33; (5) approves the reimbursement of

litigation costs and expenses totaling $5,575.04; and (7) approves an incentive award

to Mr. Schwyhart in the amount of $10,000.

      AmSher does not oppose Mr. Schwyhart’s request.




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Date: February 15, 2017               GREENWALD DAVIDSON RADBIL
                                      PLLC

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                                      Class counsel


                          CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing was filed electronically on February 15,

2017, via the Court Clerk’s CM/ECF system, which will provide notice to all counsel

of record.

                                      s/ Aaron D. Radbil
                                      Aaron D. Radbil




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